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                 IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                                    NO. 4:09CR00086-006 SWW

ALBERTO GUTIERREZ GALVAN




                                               ORDER


       Pending      before     the     Court    is   government's     motion      to    correct

superseding indictment and for dismissal of the indictment against

defendant, ALBERTO GUTIERREZ GALVAN, pursuant to Rule 48(a) of the

Federal Rules of Criminal Procedure.

       IT IS ORDERED that the government’s motion [doc #142] to amend and

dismiss defendant be granted.              The Clerk is directed to amend the name

of    the   defendant     to    read    “HUMBERTO       GONZALEZ   MARTINEZ       aka   ALBERTO

GUTIERREZ     GALVAN”     and    following       this     correction,       the   superseding

indictment     as    to   defendant      HUMBERTO       GONZALEZ   MARTINEZ       aka   ALBERTO

GUTIERREZ GALVAN be dismissed without prejudice.

       DATED this 12th day of November 2009.



                                                       /s/Susan Webber Wright
                                                       UNITED STATES DISTRICT JUDGE
